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             EXHIBIT 25
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                                                                                                                                Testing and more




                  ILLINOIS ABORTION
                  Surgical & Medical Centers




                                                  Helping and Supporting Women for over 30 Years



                                                                                                                    Request an A

                                                           
                                                           
                                                 Telehealth Medication
                                                   Surgical Abortion
                                                        Abortion
                                                     Up to 17 Weeks
                                                Now offering Telehealth
                                                  Medication Abortion
                                                 (Abortion Pill by Mail)




                                                          
                 Medication Abortion
                                               Know Your Abortion Rights
                   (Abortion Pill)
                                               Patients under the age of
             Up to 11 weeks underneath         18. What are the laws? We
                         it.                         can help you.




                               
                Women's Health and
                Gynecology Services
              Birth Control STD Testing
                    Annual Exams




                                        For those who qualify, there is one low, ALL-INCLUSIVE price
                                            for medication abortion services (the abortion pill).
                                            Please call our Medical Center to learn more details.




                                                                                                                        NIFLA 02014
https://illinoisabortion.com                                                                                                                       1/5
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                                                                                                                                Testing and more




                     All Members of National Abortion Federation (NAF)



                                                             
              Pregnancy Calculator               Request an Appointment

                  Use our calculator to           A Representative will call you

                        determine                            back to

                 how far along you are               confirm your scheduled

                                                          appointment.




             ABOUT US

             Over 30 years of Reproductive Health Care Services in Illinois

             Illinois Abortion Clinics have been providing Reproductive
             Health Care in Illinois for over 30 years including Medication
             and Surgical Abortion Care, Birth Control, STD Testing and
             General Gynecologic Care. We offer Annual Well Woman Exams,
             Comprehensive Contraception, IUDs, and Nexplanon.
             All Illinois Abortion Clinics Providers are Board Certified
             Physicians and Advanced Practice Clinicians.
             All Illinois Abortion Clinics are conveniently located with ample
             parking and offer Saturday appointments. Our phones are open
             on weekends to schedule appointments and answer any
             questions.
             We understand the urgency of your situation. Do NOT delay in
             receiving care. We are accepting out-of-state patients and can
             assist in providing funding to help you access the care you
             need as soon as possible.
                                 Our Locations




                     1700 75th Street
                 Downers Grove, Illinois
           (630) 964-0000

                Directions       Website




                                                                                                                        NIFLA 02015
https://illinoisabortion.com                                                                                                                       2/5
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                                                                                                                             We
                                                                                                                Free Abortion




        ue to more restrictive abortion laws in other states, patients come to our Centers
                       from all the Midwest States and all over the country.
         linois has the best regulation and laws regarding Women’s Health and Abortion
                                            Services.



                  Illinois                                 Indiana

                  Wisconsin                                Michigan

                  Iowa                                     Tennessee

                  Kentucky                                 Iowa

                  Missouri                                 Minnesota




                                 CITIES WE SERVE INCLUDE

                  Joliet                                   Chicago

                  Addison                                  Schaumburg




                                             Cities We Serve




                                                                                                                        NIFLA 02016
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              Addison          Alden               Bridgeview        Bristol
              Algonquin        Alsip               Broadview         Brookfield
              Antioch          Argo                Buffalo Grove     Bull Valley
              Argonne          Arlington           Burbank           Burr Ridge
                                  Heights            Elmhurst          Elmwood Park
              Aurora           Bannockburn         Elwood            Eola
              Barrington       Bartlett            Esmond            Evanston
                (Hills)                              Evergreen         Flossmoor
              Batavia          Beach Park            Park
              Beecher          Bellwood            Flowerfield       Ford Heights
              Belvedere        Bensenville         Forest Park       Forest View
              Berkeley         Berwyn              Fort Sheridan     Fox Lake
              Bloomingdale     Blue Island         Fox River         Fox River
              Bolingbrook      Boulder Hill          Grove              Valley
              Bourbonnais      Braceville          Fox Valley        Frankfort
              Braidwood                             Franklin Park




              Gages Lake       Gardner             Lindenhurst       Lisle
              Geneva           Genoa               Lockport          Lombard
              Gilberts         Glen Ellyn          Long Grove        Lynwood
              Glencoe          Glendale            Lyons             Malta
                                  Heights            Manhattan         Maple Park
              Glenview         Glenwood            Marengo           Manteno
              Godley           Golf                Markham           Matteson
              Grayslake        Gurnee              Maywood           Mazon
              Hainsville       Hampshire           Mc Cook           McCullom
              Hanover Park     Harvard                                  Lake
              Harvey           Harwood             McGraw Park       McHenry
                                  Heights            Medinah           Melrose Park
              Hawthorn         Lakemoor            Merrionette       Mettawa
                Woods                                  Park
              Lansing          Lemont              Midlothian        Minooka
              Libertyville     Lincolnshire        Moline
              Lincolnwood




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              Mokena           Monee
                                                       Round Lake       Round Lake
              Montgomery       Morris
                                                         Heights           Park
              Morton Grove     Mount
                                 Greenwood             Russell          Sandwich
                                                       Sauk Village     Schaumburg
              Mount            Prairie Grove
                                                       Schiller Park    Shabbona
                Prospect
                                                       Shorewood        Skokie
              Prospect         Richmond
                                                       Sleepy Hollow    Solon Mills
                Heights
                                                       Somonauk         South
              Richton Park     Ringwood
                                                                           Barrington
              River Forest     River Grove
                                                       South            South Elgin
              Riverdale        Riverside
                                                         Chicago
              Riverwoods       Robbins
                                                       South Holland    South
              Rochelle         Rockford
                                                                           Wilmington
              Rockdale         Rolling
                                                       Spring Grove     St. Charles
                                 Meadows
                                                       Wilmington       Wilton Center
              Romeoville       Roselle
                                                       Winfield         Winnetka
              Rosemont         Round Lake
                                                       Winthrop         Wonder Lake
              Round Lake
                                                         Harbor
                Beach
                                                       Wood Dale




                                     Our Patient Testimonials

                   “The staff was positive and always had a smile
                     on their face. A BIG thank you to the Scrub
                   Tech Tianna who was so friendly and kind. She
                    made me feel welcomed and safe. She also
                       made the experience a bit less nerve
                     wracking. This healthcare facility is lucky to
                            have an employee like her.”
                                                 Are you Our Patient or Visited Us recently?
                                   we would love to collect your feedback that could help others!


                                               Share Feedback




                                                                                                                        NIFLA 02018
https://illinoisabortion.com                                                                                                                       5/5
